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12
                               UNITED STATES DISTRICT COURT
13
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
      UNITED STATES OF AMERICA,                     No. CR 2:24-cr-00091-ODW
15
                  Plaintiff,                        GOVERNMENT’S OPPOSITION TO
16
                         v.                         DEFENDANT’S EMERGENCY EX
17                                                  PARTE MOTION FOR MEDICAL
      ALEXANDER SMIRNOV,                            FURLOUGH
18
                  Defendant.
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20
21          Defendant Alexander Smirnov (“Defendant”) filed a motion yesterday seeking a
22    30-day medical furlough or, alternatively, an order directing the United States Marshals
23    Service (“USMS”) to transport him to San Francisco, California for a medical procedure
24    on March 27, 2024, and for all medically required post-operative care through April 26,
25    2024. Defendant, however, presents a substantial flight risk, which justified his detention
26    in the first place and counsels against his release here. Moreover, Defendant has access
27    to necessary medical treatment through USMS and his current jail facility, the Santa Ana
28    City Jail (or, “facility”), should he avail himself of it through the proper procedures and
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 1    channels, which he has not yet done. Lastly, it is impracticable and would pose a hardship
 2    to USMS for USMS to transfer Defendant to San Francisco for medical treatment he
 3    otherwise can receive nearby the facility where is presently detained. For those reasons,
 4    the Court should deny Defendant’s motion for temporary release.
 5
       Dated: March 12, 2024
 6                                          Respectfully submitted,
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17                                          United States Department of Justice
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2          I.     BACKGROUND & ARGUMENT
 3          On March 11, 2024, Defendant filed a motion seeking a “medical furlough” during
 4    which he would be released from custody for approximately 30 days, between March 27,
 5    2024 and April 26, 2024. Specifically, Defendant seeks release for surgery with a doctor
 6    in San Francisco on March 27, 2024, and then to attend weekly post-operative care visits.
 7    Alternatively, if his furlough is denied, Defendant asks this Court to order USMS to
 8    transport him to his surgery on March 27 and his post-operative visits thereafter. The
 9    United States, through undersigned counsel, hereby opposes this motion.
10          Defendant is charged with making a false statement to law enforcement, in
11    violation of 18 U.S.C. § 1001, and causing the creation of a false and fictitious record in
12    a federal investigation, in violation of 18 U.S.C. § 1519. He is a dual United States/Israeli
13    citizen who has claimed to have had numerous foreign relationships and contacts,
14    including with multiple foreign intelligence agencies, and who has traveled abroad
15    widely. Based on financial records, Defendant has access to more than $6 million in
16    liquid funds, which he did not disclose to Pretrial Services. Given those issues and
17    concerns, the Court granted the government’s motion to revoke Defendant’s pretrial
18    release. Accordingly, the Court’s In Camera Minute Order dated February 22, 2024
19    stated the following:
20          Now having considered the history of Defendant’s relationship with his FBI
            handler during which he has proven himself not to be trustworthy, his
21
            admitted extensive and recent contacts with agents of foreign intelligence
22          agencies, including Russian intelligence, and his stated intention to once
            again leave the country, this court has conducted its own de novo review, and
23
            as a result this court reverses the release order and requests the issuance of an
24          arrest warrant for Defendant.
25
            Considering the fact Defendant has at his immediate disposal several million
26          dollars, the ability to secure a passport at the Israeli embassy and foreign
            interests likely willing to assist Defendant in evading capture. An ankle
27
            bracelet is at best an irritant and insignificant impediment to his ability to
28          leave the country. In this court’s considered opinion, the only effective
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 1          measure to assure Smirnov makes his court appearances is detention.
 2
      ECF No. 15.
 3
            Despite no legal requirement to do so, this Court also scheduled an immediate
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      detention hearing on February 26, 2024 and, following a consideration of the arguments
 5
      by the parties, issued an Order of Detention, confirming that Defendant presented a flight
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      risk warranting pretrial detention and that no condition or combination of conditions
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      could reasonably ensure his appearance. ECF No. 46. Those same issues and concerns
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      that informed the Court’s detention finding are equally applicable here, providing a firm
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      and clear basis for denying Defendant’s motion. Simply put, the Court’s findings and
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      conclusion that Defendant is a significant flight risk for whom only detention will
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      guarantee his appearance counsel strongly against Defendant’s request that he be released
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      from detention, whether for 30 consecutive days or multiple occasions.
13
            Notwithstanding Defendant’s risk of flight, other practical reasons also disfavor his
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      request for furlough and/or repeated USMS transportation to San Francisco. First,
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      Defendant already has access to appropriate medical treatment as provided by medical
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      service providers who are under contract with Defendant’s current jail facility, the Santa
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      Ana City Jail. But to the government’s knowledge, Defendant has not formally sought
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      that treatment by submitting an official request and initiating the process through which
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      all similarly situated detainees and inmates at the facility would seek and receive
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      necessary medical treatment. According to USMS1 and as set forth in a letter from the
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      Santa Ana Police Department (attached as “Exhibit 1”), Defendant, like others at his
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      facility, must submit a request for medical treatment to the facility’s staff; USMS then
23
      reviews that request. Upon approval, USMS transports the detainee, as appropriate and
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            1
               The government, like defense counsel, spoke with a USMS representative prior
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      to filing. Defense counsel’s recitation of the typical protocol by detainees and inmates to
27    procure medical services through the Santa Ana City Jail and USMS, see Def. Mot. at 2
      n.1, is consistent with what USMS shared with the government and what is described in
28
      Exhibit 1.
                                                    2
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 1    necessary, to a medical service provider who has contracted with the facility to provide
 2    medical services to the facility’s detainees and inmates. In addressing Defendant’s
 3    motion, the government understands, based on its discussion with USMS, that
 4    Defendant’s facility contracts with ophthalmologists in Orange County, where the facility
 5    is located. Defendant, therefore, has capable medical staff available to him through
 6    USMS and his facility who can presumably evaluate and treat his present health issues,
 7    or otherwise make whatever recommendations or referrals it deems appropriate.
 8    Nonetheless, Defendant has not availed himself of those services through proper channels
 9    and procedures. Should Defendant submit a request to visit a local ophthalmologist,
10    USMS would review the request and, if approved, transport him to that service provider.
11    Absent any effort to explore this option, Defendant’s motion is premature, and he is not
12    entitled to the relief sought here.
13          In addition, granting Defendant’s motion and deviating from the facility’s process
14    risks burdening USMS with a substantial hardship. USMS must manage finite resources,
15    including staff and financial expenditures, while also ensuring the safety and security of
16    the detainees it transports and the USMS officials who conduct those transports. Where,
17    as here, a service provider associated with the Santa Ana City Jail can provide proper
18    medical care in the facility’s county in lieu of a six-hour trek hundreds of miles away to
19    San Francisco, USMS’s interests in managing and conserving resources and safeguarding
20    the safety and well-being of its detainees and employees are paramount. To grant
21    Defendant’s motion is to impose a substantial hardship on USMS when a suitable and
22    appropriate option exists in relatively close proximity to and through established channels
23    with the facility. This is all especially true where Defendant has requested release and
24    transportation not only for his medical procedure on March 27, 2024, but also for routine
25    post-operative care, which would require USMS to transport Defendant hundreds of miles
26    from his facility to San Francisco, and back again, weekly and for about a month.
27          II.    CONCLUSION
28          Based on the above, this Court should deny Defendant’s Motion.
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 1                                   CERTIFICATE OF SERVICE
 2          I hereby certify that on this date, I electronically filed the foregoing pleading with
 3    the Clerk of the Court using the CM/ECF system, which will send notification of such
 4    filing to the attorneys of record for Defendant.
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 6    Dated: March 12, 2024
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